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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


                                                      )
ANDREW G. MCCABE,                                     )
                                                      )
                       Plaintiff,                     )
                                                      )
        v.                                            )
                                                      )         Civil Action No. 19-2399
WILLIAM P. BARR,                                      )
in his official capacity as                           )
ATTORNEY GENERAL OF THE                               )
UNITED STATES, et al.,                                )
                                                      )
                       Defendants.                    )
                                                      )

                           AFFIDAVIT OF RETURN OF SERVICE

       I, Murad Hussain, hereby declare and state as follows:

       1.       I am an attorney at Arnold & Porter Kaye Scholer LLP, and I am Plaintiff’s

attorney of record in the above-captioned matter. I am filing this Affidavit of Return of Service

in connection with the complaint filed in the above-captioned matter on August 8, 2019.

       2.       On August 12, 2019, I caused to be sent via certified U.S. mail a copy of the

complaint (with exhibit), summons, and Docket Entries 3 and 5 in this matter directly to

Defendants William P. Barr, in his official capacity as Attorney General of the United States; U.S.

Department of Justice; Christopher A. Wray, in his official capacity as Director of the Federal

Bureau of Investigation; and Federal Bureau of Investigation. (See Ex. A (Proof of Service

Affidavits of Ryan D. White); Ex. B (certified mail receipts).) According to the U.S. Postal Service

website, the above-referenced documents were delivered on August 16, 2019, except for

Defendant Barr’s delivery, which was completed on August 19, 2019. (See Ex. C. (U.S. Postal

Service delivery confirmation webpage).)
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        3.    On August 12, 2019, I caused to be sent via certified U.S. mail a copy of the

 complaint (with exhibit), summons, and Docket Entries 3 and 5 in this matter to Jessie K. Liu,

 U.S. Attorney for the District of Columbia, as required by Federal Rule of Civil Procedure 4(i)

 for service on Defendants. (See Exs. A & B.) According to the U.S. Postal Service website,

 the above-referenced documents were delivered on August 19, 2019. (See Ex. C.)

       I declare under penalty of perjury that the foregoing is true and correct.




Executed on August 19, 2019.                  Respectfully submitted,

                                               /s/ Murad Hussain
                                              Howard N. Cayne (D.C. Bar. No. 331306)
                                              Murad Hussain (D.C. Bar. No. 999278)
                                              Owen Dunn (D.C. Bar. No. 1044290)
                                              Ryan D. White (D.C. Bar No. 1655918)
                                              ARNOLD & PORTER KAYE SCHOLER LLP
                                              601 Massachusetts Avenue, NW
                                              Washington, DC 20001-3743
                                              Telephone: (202) 942-5000
                                              Fax: (202) 942-5999

                                              Attorneys for Plaintiff Andrew G. McCabe




                                                 2
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              EXHIBIT B
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              EXHIBIT C
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